            Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 1 of 26




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
HUSSEIN ROBINSON,                                   :
                                                    :
                       Plaintiff,                   :      No.
                                                    :
                v.                                  :
                                                    :
WILLIAM WOOLEMS, DEALER’S CHOICE                    :
TRUCKWAY, TRUCKMOVERS.COM, INC.,                    :
and TRUCKMOVERS HOLDINGS, LLC,                      :
                                                    :
                       Defendants.                  :


                                     NOTICE OF REMOVAL

TO THE CLERK OF COURT:

       Pursuant to 28 U.S.C. § 1441, Defendants William Woolems, Dealers’ Choice

Truckaway System, Inc. d/b/a “Truckmovers” (improperly pled as “Dealer’s Choice Truckway”)

(hereinafter “Dealers’ Choice”), Truckmovers.com, Inc., and Truckmovers Holdings, LLC, by

and through their undersigned counsel, Weber Gallagher Simpson Stapleton Fires & Newby,

LLP, hereby remove the case captioned Hussein Robinson v. William Woolems, et al, Court of

Common Pleas, Philadelphia County, August Term 2021, No. 01909 (the “State Court Action”),

from the Court of Common Pleas of Philadelphia County, where it is now pending, to the United

States District Court for the Eastern District of Pennsylvania, and as grounds for removal states

as follows:

       1.       Plaintiff initiated the State Court Action by filing a Complaint against Defendants

on or about August 20, 2021.
             Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 2 of 26




        2.       Plaintiff’s Complaint was the first pleading that contained any information about

the claimed damages and the nature of the Plaintiff’s claims against Defendants, and the first

pleading from which the basis of removal could be determined.

        3.       In accordance with 28 U.S.C. § 1446(a), true and correct copies of Plaintiff’s

Complaint, along with all other process, pleadings, and orders served upon Defendants are

attached hereto as Exhibit “A.” A copy of the docket in the State Court Action is attached as

Exhibit “B.”

        4.       Plaintiff alleges Defendant William Woolems negligently changed lanes and

caused his motor vehicle to strike Plaintiff’s motor vehicle. See Exhibit “A” at ¶ 26, 37.

        5.       In Count I, Plaintiff alleges that Defendant Woolems’ negligence caused him to

suffer injuries and damages in excess of $50,000. Id. at Count I.

        6.       Plaintiff contends Defendants Dealers’ Choice, Truckmovers.com, Inc., and

Truckmovers Holdings, LLC, negligently entrusted the motor vehicle to Defendant Woolems.

Id. at ¶39.

        7.       In Count II, Plaintiff alleges that the negligence of Defendants Dealers’ Choice,

Truckmovers.com, Inc., and Truckmovers Holdings, LLC caused him to suffer injuries and

damages in excess of $50,000. Id. at Count II.

        8.       Plaintiff contends Defendants Dealers’ Choice, Truckmovers.com, Inc., and

Truckmovers Holdings, LLC, are liable for Defendant Woolems’ alleged negligence pursuant to

the doctrine of respondeat superior, causing injuries and damages in excess of $50,000. Id. at

Count III.

        9.       Furthermore, upon information and belief, Plaintiff’s claims include a workers

compensation lien in an amount in excess of $80,000.
         Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 3 of 26




       10.     The entire State Court Action is removable to this Court pursuant to 28 U.S.C. §

1441, as this Court has original jurisdiction under 28 U.S.C. § 1332.

                      DIVERSITY AS A BASIS FOR JURISDICTION

       11.     This Court has original jurisdiction over the State Court Action pursuant to 28

U.S.C. § 1332(a)(1) because there is complete diversity between Plaintiff and Defendants, and

the amount in controversy, exclusive of interest and costs, exceeds the sum or value of

$75,000.00.

       12.     Plaintiff is a citizen of the State of Pennsylvania. Id. ¶ 1.

       13.     Upon information and belief, Defendant Woolems is a citizen of Virginia.

       14.     Defendant Dealers’ Choice Truckaway System, Inc. is a Kansas corporation, with

a principal place of business at 2310 South Redwood Avenue, Independence, Missouri 64057.

       15.     Defendant Truckmovers.com, Inc. is a Missouri corporation, with a principal

place of business at 2310 South Redwood Avenue, Independence, Missouri 64057.

       16.     Defendant Truckmovers Holdings, LLC is a Delaware corporation with a

principal place of business at 2310 South Redwood Avenue, Independence, Missouri 64057.

       17.     Complete diversity of citizenship exists between Plaintiff and Defendants.

       18.     Pursuant to 28 U.S.C. § 1441(b), the State Court Action is removable because no

party in interest properly joined and served as a Defendant is a citizen of Pennsylvania.

       19.     Under 28 U.S.C. § 1446(c) “[i]f removal of a civil action is sought on the basis of

jurisdiction conferred by section 1332(a), the sum demanded in good faith in the initial pleading

shall be deemed to be the amount in controversy, except that – (A) the notice of removal may

assert the amount in controversy if the initial pleading seeks – (i) nonmonetary relief; or (ii) a

money judgment, but the State practice either does not permit demand for a specific sum or
           Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 4 of 26




permits recovery of damages in excess of the amount demanded; and (B) removal of the action is

proper on the basis of an amount in controversy asserted under subparagraph (A) if the district

court finds, by the preponderance of the evidence, that the amount in controversy exceeds the

amount specified in section 1332(a).”

       20.        Here, Plaintiff’s Complaint demands damages “in an amount in excess of fifty-

thousand dollars ($50,000.00)” in each of the three counts of the Complaint.

       21.        Furthermore, Plaintiff has alleged a workers compensation lien totaling over

$80,000.

       22.        Thus, Plaintiff’s request for damages exceeds the $75,000.00 amount in

controversy requirement.

       23.        Accordingly, the amount in controversy requirement of 28 U.S.C. § 1332 has

been satisfied.

                               OTHER PROCEDURAL MATTERS

       24.        Pursuant to 28 U.S.C. § 1446(a), the United States District Court for the Eastern

District of Pennsylvania is the appropriate court for filing a Notice of Removal from the Court of

Common Pleas of Philadelphia County, Pennsylvania where the State Court Action is pending.

       25.        Service of the Complaint upon Defendant Woolems was completed on or about

August 25, 2021.

       26.        Service of the Complaint upon Defendant Dealers’ Choice was completed on or

about August 27, 2021.

       27.        Service of the Complaint upon Defendant Truckmovers.com, Inc. was completed

on or about August 27, 2021.
           Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 5 of 26




       28.     Service of the Complaint upon Defendant Truckmovers Holdings, LLC was

completed on or about August 25, 2021.

       29.     This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b).

       30.     Contemporaneous with the filing of this Notice, Defendants have given written

notice hereto to Plaintiff, and Defendants will file a true and correct copy of this Notice of

Removal with the Court of Common Pleas of Philadelphia County as required by 28 U.S.C. §

1446(d).

       WHEREFORE, Defendants William Woolems, Dealers’ Choice Truckaway System,

Inc., Truckmovers.com, Inc., and Truckmovers Holdings, LLC submit this Notice that the State

Court Action is removed from the Court of Common Pleas of Philadelphia County to the United

States District Court for the Eastern District of Pennsylvania.



                                                      Respectfully submitted,

                                                      WEBER GALLAGHER SIMPSON
                                                      STAPLETON FIRES & NEWBY, LLP

                                                      /s/ Laura A. Seider
                                                      June J. Essis, Esquire
                                                      Laura A. Seider, Esquire
                                                      2000 Market Street, Suite 1300
                                                      Philadelphia, PA 19103
                                                      Attorneys for Defendants
Date: September 22, 2021
         Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 6 of 26




                               CERTIFICATE OF SERVICE

       I, Laura A. Seider, Esquire, hereby certify that on this 22nd day of September, 2021, I

caused to be served a true and correct copy of the foregoing Notice of Removal via E-Mail, upon

the following:

                                 Joseph F. Schwartz, Esquire
                                       Silver & Silver
                              42 W. Lancaster Avenue, 3rd Floor
                                     Ardmore, PA 19003
                                    Attorney for Plaintiff


                                                   WEBER GALLAGHER SIMPSON
                                                   STAPLETON FIRES & NEWBY, LLP

                                                   /s/ Laura A. Seider
                                                   June J. Essis, Esquire
                                                   Laura A. Seider, Esquire
                                                   2000 Market Street, Suite 1300
                                                   Philadelphia, PA 19103
                                                   Attorneys for Defendants
Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 7 of 26
          Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 8 of 26




        SILVER* SILVER                                            JURY TRIAL DEMANDED
        By: Joseph F. Schwartz, Esq.
        Identification No.: 87550
        42 W. Lancaster Ave., Third Floor                                             Filed
        Ardmore, PA 19003                                         Attorney for   Plainfiff ce
        (610)658- 1900                                                                    20


         HUSSEIN ROBINSON                                         COURT OF COMMON PL
                                                                  OF PHILADELPHIA COUNT
         4347 N. 6“'^ Street
         Philadelphia, PA 19140
                  V.
                                                                   August Term 2021
         WILLIAM WOOLEMS
         6485 Sandy Ford Road                         No.
         Blue Ridge, VA 24064
                 and
         DEALER’S CHOICE TRUCKWAY
         2310 S. Redwood Ave.
         Independence, MO 64057
                 and
         TRUCKMOVERS.COM, INC.
         2310 S. Redwood Ave.
         Independence, MO 64057
                 and
         TRUCKMOVERS HOLDINGS, LLC
          c/o Registered Agent Solutions
          9 E. Lockerman Street, Suite 311
          Dover, DE 19901
                  and
          JOHN DOE 1
          Owner of Truck Driven by Mr. Woolems
                  and
          JOHN DOE 2
          Employer of Mr. Woolems
                                      COMPLAINT IN CIVIL ACTION
                                     ^v- MOTOTt VEHICLE ACCIDENT

                                                                                              AVISO
                          NOTICE
                                                                           "Lo han demandado en la corte. Si usted quiere
          "You have been sued in court. If you wish to defend
                                                                  defenderse de estas demandas expuestas en las siguientes
against the claims set forth in the following pages, you must
                                                                  paginas, usted debe tomar una medida dentro de 20 di'as de la
take action within twenty (20) days after this complaint and
                                                                  fecha de esta demanda y de la fecha que fue notificado de este
notice are served, by entering a written appearance personally
                                                                      c, asentando su comparecencia personal por escrito o que
                                                                  aviso,
or by attorney and filing in writing with the court your
defenses or objections to the claims set forth against you. You   un abogado presente al tribunal por escrito sus defensas o
                                                                  objeciones a las demandas expuestas en contra de usted. Se le
are warned that if you fail to do so the case may proceed
                                                                  advierte que si usted falla de hacerlo, el caso puede seguir
without you and a judgment may be entered against you by the      adelante sin usted y se puede asentar un fallo en el tribunal sin
court without further notice for any money claimed in the
                                                                  una notificacion adicional por cualquier dinero reclamado en la
 complaint or for any other claim or relief requested by the       demanda o sin que ninguna otra demanda o descargo sea pedida
 plaintiff You may lose money or property or other rights          por el demandante. Usted puede perder dinero o r-            SUS
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           Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 9 of 26




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                                                   ABOGADO VAYA A O LLAME A LA OFICINA ABAJO
FORTH BELOW. this office can PROVIDE YOU           INDICADA. ESTA OFICINA LE PUEDE PROPORCIONAR
WITH INFORMATION ABOUT HIRING A LAWYER.
                                                   CON LA INFORMACION SOBRE COMO CONTRATUR
       IF YOU CANNOT AFFORD TO FBRE A              UN ABOGADO'.
LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE
YOU WITH INFORMATION ABOUT AGENCIES THAT                 SI   USTED NO TIENE DINERO PARA
MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS       CONTRATAR A UN ABOGADO, ESTA OFICINA LE
AT A REDUCED FEE OR NO FEE.                        PUEDE PROPORCIONAR CON LA INFORMACION
                                                   SOBRE LAS AGENCIAS QUE LE PUDIERAN OFRECER
      PHILADELPHIA BAR ASSOCIATION                 SERVICIOS LEGALES A PERSONAS A UN HONORARIO
      Lawyer Referral & Information Service        REDUCIDO O SIN COBRARLE UNO.
      One Reading Center
      Philadelphia, Pennsylvania 19107                   La Asociacion de Abogados de Filadelfia
      Telephone (215) 238-1701                           El Departamento de Remision a Abogados y
                                                         Servicios de Informacion
                                                         One Reading Center
                                                         Filadelfia, Pennsylvania 19107
                                                         Telefono:(2!5) 238-1701




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                                                                                        Case ID: 210801909
 Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 10 of 26




SILVER & SILVER                                          JURY TRIAL DEMANDED
By; Joseph F. Schwartz, Esq.
Identification No.: 87550
42 W. Lancaster Ave., Third Floor
Ardmore, PA 19003
(610) 658-1900                                           Attorney for Plaintiff


HUSSEIN ROBINSON                                         COURT OF COMMON PLEAS
4347 N. 6* Street                                        OF PHILADELPHIA COUNTY
Philadelphia, PA 19140
       V.
                                                         August Term 2021
WILLIAM WOOLEMS
6485 Sandy Ford Road                        No.
Blue Ridge, VA 24064
        and
DEALER’S CHOICE TRUCKWAY
2310 S. Redwood Ave.
Independence, MO 64057
        and
TRUCKMOVERS.COM, FNC.
2310 S. Redwood Ave.
Independence, MO 64057
        and
TRUCKMOVERS HOLDINGS, LLC
c/o Registered Agent Solutions
 9 E. Lockerman Street, Suite 311
 Dover, DE 19901
         and
 JOHN DOE 1
 Owner of Truck Driven by Mr. Woolems
         and
 JOHN DOE 2
 Employer of Mr. Woolems
                             COMPLAINT IN CIVIL ACTION
                           ^v- MOTOR VEHICLE ACCIDENT

            Plaintiff, by his undersigned counsel brings this action against the above captioned

 Defendants, and in support thereof avers as follows;

         1.       Plaintiff, Hussein Robinson, is an adult individual residing at the above

 captioned address.

         2.        Defendant William Woolems (hereinafter “Defendant Woolems”) is an adult

  individual residing at the above listed address.




                                                     3                                  Case ID; 210801909
  Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 11 of 26




       3.     Defendant Dealer’s Choice Truckway (hereinafter “Defendant DCT”) is a

business corporation registered to do business in Pennsylvania with its registered address at

the above captioned address.

       4.     Upon information and belief, Defendant DCT regularly conducts business in

Philadelphia County.

       5.     Defendant Truckmovers.Com, Inc. (hereinafter “Defendant TCI”) is a business

corporation registered to do business in Pennsylvania with its registered address at the above

captioned address.

       6.      Upon information and belief, Defendant TCI regularly conducts business in

Philadelphia County.

       7.      Defendant Truckmovers Holdings, LLC (hereinafter “Defendant THL”) is a

business corporation registered to do business in Pennsylvania with its registered address at

the above captioned address.

               Upon information and belief, Defendant THL regularly conducts business in

Philadelphia County.

       9.      Defendant John Doe 1 is the owner of the truck being operated by Defendant

Woolems.

        10.    Upon information and belief, Defendant John Doe 1 regularly conducts

business in Philadelphia County.

        11.    Defendant John Doe 2 is the entity that employed Defendant Woolems at the

time of the accident.

        12.    Upon information and belief. Defendant John Doe 2 regularly conducts

business in Philadelphia County.

        13.    This litigation arises out of a motor vehicle accident that took place on or

 about October 21,2019 on 1-81 North near Shippensburg, PA.




                                               4                                      Case ID: 210801909
Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 12 of 26




        14.    At all times material hereto, Plaintiff was the operator of a white International

Tractor Trailer (hereinafter “Plaintiff s Vehicle”).

        15.    At all times material hereto, Defendant Woolems was the operator of an

Orange Volo Tractor Trailer (hereinafter “Defendants’ Vehicle”).

        16.    Upon information and belief, at all times relevant hereto, Defendants’ Vehicle

was owned by Defendant DCT.

        17.     Upon information and belief, at all times relevant hereto, Defendants’ Vehicle

was owned by Defendant TCI.

        18.     Upon information and belief, at all times relevant hereto. Defendants’ Vehicle

was. owned by Defendant THL.

        19.     Upon information and belief, at all times relevant hereto, Defendants’ Vehicle

was owned by Defendant John Doe 1.

        20.     Upon information and belief, at all times relevant hereto. Defendant Woolems

was the employee, agent, contractor or servant of Defendant DCT.

        21.     Upon information and belief, at all times relevant hereto. Defendant Woolems

 was the employee, agent, contractor or servant of Defendant TCI.

        22.     Upon information and belief, at 11 times relevant hereto. Defendant Woolems

 was the employee, agent, contractor or servant of Defendant IHL.

         23.    Upon information and belief, at all times relevant hereto. Defendant Woolems

 was the employee, agent, contractor or servant of Defendant John Doe 2.

         24.     At all times material hereto. Defendant Woolems was acting within the course

 and scope of his employment.

         25.     The scope and employment of Defendant Woolems employment included

 permission to utilize Defendants’ Vehicle.

         26.     At the aforementioned time and place, Defendant Woolems improperly

 changed lanes, causing Defendants’ Vehicle to collide with Plaintiffs vehicle.

                                                  5                                      Case ID; 210801909
  Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 13 of 26




        27.       As a result of this collision. Plaintiff has suffered personal injuries, including,

but not limited to, cervical radiculopathy, lumbar radiculopathy, lumbar disc injuries, and

injuries to his neck, midback and low back.

        28.       At all times material hereto. Plaintiff acted in a reasonable and prudent

manner, was in no way negligent, and in no manner caused or contributed to the happening of

this collision.

        29.       The accident and Plaintiffs injuries were directly and proximately caused by

the negligence of the Defendants and were due in no manner to any act or omission on the

part of the Plaintiff.

        30.       At all times material hereto. Plaintiff did not assume the risk of his injuries.

        31.       As a direct and proximate result of the tortious conduct of Defendants,

Plaintiff has suffered in the past, and in the future will continue to suffer great pain, agony,

mental anguish, and a diminution of his ability to enjoy life and life’s pleasures.

        32.       As a further result of tortious conduct of Defendants, Plaintiff has been and

will in the future be compelled to expend large sums of money for medical treatments and

diagnostics, in an effort to permanently and thoroughly cure himself of the injuries and/or

sufferings brought about as a result of the accident.

         33.      As a direct and proximate result of the tortious conduct of Defendants Plaintiff

was unable to work due to his injuries and incurred significant wage loss.

         34.       As a direct and proximate result of the tortious conduct of Defendants a

 workers’ compensation lien in excess of $80,000 is being asserted for indemnity and medical

 payments made due to the injuries Plaintiff sustained in this matter.

         35.       As a direct and proximate result of the tortious conduct of Defendants,

 Plaintiff has incurred in the past and will continue to incur in the future, other financial

 expenses or losses, including lost wages and diminished earning capacity, which do or will

 exceed the amount which he may otherwise be entitled to recover.

                                                    6                                         Case 10:210801909
Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 14 of 26




                                    COUNT I - NEGLIGENCE
                               Hussein Robinson v. William Woolems

         36.        The preceding paragraphs are incorporated by reference as if set forth fully

below.

         37.        The aforementioned collision was the direct and proximate result of the

negligent operation of the motor vehicle by Defendant Wollems in that he:

           a. Failed to apply his brakes in time to avoid said collision;

           b. Negligently applied his brakes to avoid said collision;

           c. Operated the vehicle in careless disregard for the safety or persons or

                    property in violation of 75 Pa. Cons. Stat. § 3714;

           d. Failed to steer the vehicle in a manner so as to avoid said collision;

           e. Permitted and allowed Defendants’ vehicle to strike and collide with

                    Plaintiffs vehicle;

               f.   Failed to keep a reasonable lookout for other vehicles;

               g. Failed to adequately observe Plaintiffs vehicle;

               h. Although he saw or should have seen Plaintiffs vehicle, failed to

                    slacken speed, turn vehicle, or take any other evasive action in an

                    attempt to avoid the collision;

               i.   Failed to have his vehicle under proper and adequate control;

               j.   Improperly and unsafely changed lanes in violation of 75 Pa. Cons.

                    Stat. § 3309.

         WHEREFORE, Plaintiff Hussein Robinson requests this Honorable Court to enter

judgment in his favor against Defendant William Wollems in an amount in excess of

$50,000.00 in compensatory damages in addition to interest, costs, and delay damages

pursuant to Pa. R.C.P. 238.




                                                      7                                  Case   ID: 210801909
  Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 15 of 26




                            COUNT II - NEGLIGENCE
Hussein Robinson v. Dealer’s Choice Truckway; Truckmovers.Com, Inc.; Truckmovers
                     Holdings, LLC; John Doe 1 and John Doe 2

         38.       The preceding paragraphs are incorporated by reference as if set forth fully

below.

         39.       The aforementioned collision was the direct and proximate result of the

negligent action by Defendants Dealer’s Choice Truckway; Truckmovers.Com, Inc.;

Truckmovers Holdings, LLC; John Doe 1 and John Doe 2 in that they:

                a. Negligently entrusted the Volvo Tractor Trailer to Defendant Wollems

                   for use when it knew, or with reasonable exercise of due care, should

                   have known, that the operator was not capable of operating the motor

                   vehicle properly;

                b. Negligently entrusted the Volvo Tractor Trailor to Defendant Wollems

                   for use when it knew, or in the exercise of reasonable care, should have

                   known the operator was going to operate the vehicle in an negligent

                   manner;

                c. Negligently entrusted the Volvo Tractor Trailor to Defendant Wollems

                    for use without regard for the safety of other drivers, specifically.

                    Plaintiff; and

                d. Negligently employed Defendant Wollems with the responsibility of

                    operating a motor vehicle.

          40.       As a direct and proximate result of the negligence of Defendants Dealer’s

 Choice Truckway; Truckmovers.Com, Inc.; Truckmovers Holdings, LLC; John Doe 1 and

 John Doe 2, Plaintiff sustained personal injuries and damages as described herein.

          WHEREFORE, Plaintiff Hussein Robinson requests this Honorable Court to enter

Judgment in his favor against Defendants Dealer’s Choice Truckway; Truckmovers.Com,




                                                                                              Case ID: 210801909
 Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 16 of 26




Inc,; Truckmovers Holdings, LLC; John Doe 1 and John Doe 2 in an amount in excess of

$50,000.00 in compensatory damages in addition to interest, costs, and delay damages

pursuant to Pa. R.C.P. 238.

                            COUNT III - NEGLIGENCE
Hussein Robinson v. Dealer’s Choice Truckway; Truckmovers.Coni, Inc,; Truckmovers
                     Holdings, LLC; John Doe 1 and John Doe 2

         41.     The preceding paragraphs are incorporated by reference as if set forth fully

below.

         42.     The aforementioned collision was the legal responsibility of Defendants

Dealer’s Choice Truckway; Truckmovers.Com, Inc.; Truckmovers Holdings, LLC; John Doe

1 and John Doe 2 pursuant to respondeat superior In that their employee, servant, or agent,

Defendant Wollems, was in the scope and course of his employment at the time of the

accident and acted negligently and carelessly to cause this accident.

         WHEREFORE, Plaintiff Hussein Robinson requests this Honorable Court to enter

judgment in his favor against Defendants Dealer’s Choice Truckway; Truckmovers.Com,

Inc.; Truckmovers Holdings, LLC; John Doe 1 and John Doe 2 in an amount in excess of

$50,000.00 in compensatory damages in addition to interest, costs, and delay damages

pursuant to Pa. R.C.P. 238.

                                                             SILVER & SILVER
                                                             ^oiepA (f. '§<Jiwax.tz
Dated: 8/20/21                                               Joseph F. Schwartz, Esquire
                                                             Attorney for Plaintiff




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                                                                                      Case ID: 210801909
 Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 17 of 26




                                        VERIFICATION

         1, Hussein Robinson, hereby verify that the statements made in the foregoing
Complaint are and correct to the best of my knowledge, information and belief. 1 understand

that the statements made herein are subject to penalties of 18 Pa. C.S.A. Sec. 4904, relating to

unsworn falsification to authorities.

                                                         DocuSIgned by;




                                                      Hussein Robinson
        8/17/2021
Date:




                                                 10                                      Case ID; 210801909
Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 18 of 26
                      Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 19 of 26
9/21/21, 12:13 PM                                                                   Civil Docket Report


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  Case Description

    Case ID:                  210801909
    Case Caption:             ROBINSON VS WOOLEMS ETAL
    Filing Date:              Friday , August 20th, 2021
    Court:                    MAJOR JURY-STANDARD
    Location:                 City Hall
    Jury:                     JURY
    Case Type:                MOTOR VEHICLE ACCIDENT
    Status:                   WAITING TO LIST CASE MGMT CONF

  Related Cases

  No related cases were found.

  Case Event Schedule

  No case events were found.

  Case motions

  No case motions were found.

  Case Parties

                                                                            Expn
         Seq#                                               Assoc                      Type               Name
                                                                            Date

                 1                                                                     ATTORNEY           SCHWARTZ, JOSEPH F
                                                                                       FOR
                                                                                       PLAINTIFF

    Address: 42 W. LANCASTER AVE.                                           Aliases: none
             THIRD FLOOR
             ARDMORE PA 19003
             (610)658-1900
             jschwartz@silverandsilver.com


                 2                                                   1                  PLAINTIFF         ROBINSON, HUSSEIN

    Address: 4347 N. 6TH STREET                                             Aliases: none
             PHILADELPHIA PA 19140


                 3                                                                      DEFENDANT WOOLEMS, WILLIAM

    Address: 6485 SANDY FORD ROAD                                           Aliases: none

https://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.2p__dktrpt__frames                                                                            1/4
                          Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 20 of 26
                                                                                   Civil Docket Report
9/21/21, 12:13 PM

                         BLUE RIDGE VA 24064


                                                                                      DEFENDANT DEALER'S CHOICE
                 4
                                                                                                TRUCKWAY

   Address: 2310 S. REDWOOD AVE.                                         Aliases; none
            INDEPENDENCE MO 64057


                                                                                      DEFENDANT TRUCKMOVERS.COM INC
                 5
    Address: 2310 S. REDWOOD AVE.                                        Aliases: none
             INDEPENDENCE MO 64057


                                                                                       DEFENDANT TRUCKMOVERS HOLDINGS
                 6
                                                                                                 LLC CO REGISTERED
                                                                                                 AGENT SOLUTIONS

    Address; 9 E. LOCKERMAN STREET                                        Aliases; none
             SUITE 311
             DOVER DE 19901


                                                                                       DEFENDANT DOE 1, JOHN
                  7
    Address: NO ADDRESS                                                 I Aliases: none
             NO CITY PA No Zip


                                                                                       DEFENDANT DOE 2, JOHN

     Address: NO ADDRESS                                                      Aliases: none
              NO CITY PA No Zip


                                                                                        TEAM             ANDERS, DANIEL J
                     9
                                                                                        LEADER

     Address: 529 CITY HALL                                                   Aliases: none
              PHILADELPHIA PA 19107



    Docket Entries

                                                                                                          Disposition Approval/
      Filing                   Docket Type                                       Filing Party                Amount Entry Date
      Date/Time
                                                                                                                     20-AUG-2021
      20-AUG-2021              ACTIVE CASE
                                                                                                                     04;13PM
      03:38 PM
                 Docket E-Filing Number; 2108039930
                     Entry:

                                                                                                                                   2/4
   http.s;//fjdefile.phila.gov/efsfjd/2k_fjd„public_qry_03.2p^cJktrptJrames
                      Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 21 of 26
9/21/21, 12:13 PM                                                             Civil Docket Report




   20-AUG-2021              COMMENCEMENT CIVIL                             SCHWARTZ,                                      20-AUG-2021
   03:38 PM                 ACTION JURY                                    JOSEPH F                                       04:13 PM

     Documents:                 Click link(s) to preview/purchase the documents                         Click HERE to purchase all documents
                                                                                                    * * related to this one docket entry
                             Final Cover


              Docket
                      none.
               Entry:


   20-AUG-2021              COMPLAINT FILED NOTICE                         SCHWARTZ,                                      20-AUG-2021
   03:38 PM                 GIVEN                                          JOSEPH F                                       04:13 PM

     Documents:             A Click link(s) to preview/purchase the documents                          Click HEBE to purchase all documents
                                                                                                       related to this one docket entry
                            MVA complaint H Robinson.pdf


              Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS AFTER
               Entry: SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


   20-AUG-2021              JURY TRIAL PERFECTED                           SCHWARTZ,                                      20-AUG-2021
   03:38 PM                                                                JOSEPH F                                       04:13 PM

              Docket
                      12 JURORS REQUESTED.
               Entry:


   20-AUG-2021              WAITING TO LIST CASE                           SCHWARTZ,                                      20-AUG-2021
   03:38 PM                 MGMTCONF                                       JOSEPH F                                       04:13 PM

              Docket
                      none.
               Entry:


   01-SEP-2021              AFFIDAVIT OF SERVICE                           SCHWARTZ,                                       01-SEP-2021
   10:28 AM                 FILED                                          JOSEPH F                                        10:29 AM

      Documents:                Click link(s) to preview/purchase the documents                         Click HERE to purchase all documents
                                                                                                    • » related to this one docket entry
                             Aff of Service - Woolems.pdf


                      AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON WILLIAM
              Docket WOOLEMS BY CERTIFIED MAIL,FIRST CLASS REGULAR MAIL ON 08/25/2021
               Entry: FILED. (FILED ON BEHALF OF HUSSEIN ROBINSON)



    01-SEP-2021              AFFIDAVIT OF SERVICE                          SCHWARTZ,                                       01-SEP-2021
    10:30 AM                 FILED                                         JOSEPH F                                        10:31 AM

      Documents:             .A= Click link(s) to preview/purchase the documents                    Ijiiyr Click HERE to purchase all documents
                                                                                                           related to this one docket entry
                             Aff of Service - Dealers Choice.pdf


               Docket AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON DEALER'S
https://fjdefile.phila.gov/efsfjd/zk_fjd__public_qiy_03.2p_dktrpt_fiames                                                                          3/4
                       Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 22 of 26
                                                                                  Civil Docket Report
9/21/21, 12:13 PM.
                Entry: CHOICE TRUCKWAY BY CERTIFIED MAIL,FIRST CLASS REGULAR MAIL ON
                       08/27/2021 FILED. (FILED ON BEHALF OF HUSSEIN ROBINSON)


                             AFFIDAVIT OF SERVICE                           SCHWARTZ,                                                 01-SEP-2021
   01-SEP-2021
                             FILED                                          JOSEPH F                                                  10:34 AM
   10:33 AM
                                                                                                            ■■
      Documents:             A- Click link(s) to preview/purchase the documents                                     Click HERE to purchase all documents
                                                                                                                 •" related to this one docket entry
                             Aff of Service - Truckmovers.pdf


                       AFFIDAVIT OF SERVICE OF PLAINTIFFS COMPLAINT UPON
               Docket TRUCKMOVERS.COM INC BY CERTIFIED MAIL,FIRST CLASS REGULAR MAIL
                Entry: ON 08/27/2021 FILED. (FILED ON BEHALF OF HUSSEIN ROBINSON) ____ .



                             AFFIDAVIT OF SERVICE                           SCHWARTZ,                                                     01-SEP-2021
    01-SEP-2021
                             FILED                                          JOSEPH F                                                      10:36 AM
    10:35 AM
      Documents:              .ii- Click link(s) to preview/purchase the documents                                   Click HERE to purchase all documents
                                                                                                                 • ‘ related to this one docket entry
                              Aff of Service - Truckmovers Holdinqs.pdf


                       .AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON TRUCKMOVERS
               Docket HOLDINGS LLG CO REGISTERED AGENT SOLUTIONS BY CERTIFIED
                Entry: MAIL,FIRST CLASS REGULAR MAIL ON 08/25/2021 FILED. (FILED ON BEHALF
                       OF HUSSEIN ROBINSON)                                           ,____




                     ^ Case Description     ^ Related Cases          ^ Event Schedule      ► Case Parties             ^ Docket Enit'ies


                                                            E-Filing System         Search Home




                                                                                                                                                            4/4
  hUps://fjdefile.phila.gov/efsfjd/zk_fjd_public_qry_03.zp_dktrpt_franies
JS 44 (Rev. 10/20)                                  CIVILDocument
                                 Case 2:21-cv-04180-JMY   COVER1SHEET
                                                                  Filed 09/22/21 Page 23 of 26
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
         Hussein Robinson                                                                                       William Woolems, et al

   (b)   County of Residence of First Listed Plaintiff                Philadelphia, PA                          County of Residence of First Listed Defendant              Bedford
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                          THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
         Joseph F. Schwartz, Esq. 42 W. Lancaster Ave., Third                                                   Laura A. Seider, Weber Gallagher, 2000 Market St., Suite
         Floor, Ardmore, PA 19003                                                                               1300, Philadelphia, PA 19103
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                      and One Box for Defendant)
  1    U.S. Government                      3   Federal Question                                                                    PTF          DEF                                         PTF      DEF
         Plaintiff                                (U.S. Government Not a Party)                      Citizen of This State          ✖ 1            1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

  2    U.S. Government                 ✖    4   Diversity                                            Citizen of Another State              2     ✖    2   Incorporated and Principal Place           5         5
         Defendant                                (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a               3          3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                    TORTS                               FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
  110 Insurance                            PERSONAL INJURY                  PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                               310 Airplane                    365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                           315 Airplane Product                Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                     Liability                  367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment              320 Assault, Libel &                Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment                 Slander                        Personal Injury                                                  820 Copyrights                   430 Banks and Banking
  151 Medicare Act                         330 Federal Employers’              Product Liability                                                830 Patent                       450 Commerce
  152 Recovery of Defaulted                     Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
       Student Loans                       340 Marine                          Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)                 345 Marine Product                  Liability                                                        840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment                   Liability                 PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits        ✖       350 Motor Vehicle               370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits                  355 Motor Vehicle               371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                           Product Liability           380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability           360 Other Personal                  Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                                Injury                      385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                           362 Personal Injury -               Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                               Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation                    440 Other Civil Rights          Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                          441 Voting                      463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment               442 Employment                  510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                        443 Housing/                        Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability                   Accommodations              530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property              445 Amer. w/Disabilities -      535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                               Employment                  Other:                         462 Naturalization Application                                             Agency Decision
                                           446 Amer. w/Disabilities -      540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                               Other                       550 Civil Rights                   Actions                                                                State Statutes
                                           448 Education                   555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                      3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                       8 Multidistrict
    Proceeding                 State Court                              Appellate Court              Reopened                    Another District          Litigation -                        Litigation -
                                                                                                                                 (specify)                 Transfer                            Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. Section 1332(a)(1)
VI. CAUSE OF ACTION                         Brief description of cause:
                                            Motor Vehicle Accident
VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE                                                                 DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
9/22/2021                                                                  /s/ Laura A. Seider, Esquire
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                             MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 24 of 26
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                   Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 25 of 26




                                                                                         APPENDIX I
                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                         CASE MANAGEMENT TRACK DESIGNATION FORM

                    Hussein Robinson               :                        CIVIL ACTION
                                                   :
                     v.                            :
      William Woolems, Dealer’s Choice             :
      Truckway, Truckmovers.com, Inc.,             :                        NO.
         Truckmovers Holdings, LLC

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See §1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. 2241 through          2255.                     ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health            ( )
    and Human Services denying plaintiff Social Security Benefits

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2     ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from                 ( )
    exposure to asbestos

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are              ( )
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management – Cases that do not fall into any one of the other tracks.                (x)


September 22, 2021                     /s/ Laura A. Seider              Defendants
Date                                   Attorney-at-law                  Attorney for
215-972-7920                           215-564-7699                     lseider@wglaw.com
Telephone                              FAX Number                       E-Mail Address



(Civ. 660) 10/02
                           Case 2:21-cv-04180-JMY Document 1 Filed 09/22/21 Page 26 of 26
                                                               UNITED STATES DISTRICT COURT
                                                         TOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                                DESIGNATION FORM
                       (to he used by counsel or pro se plaiiiliff to imiicale the category of the case for the purpose ofassignment to the appropriate calendar)

Address of Plaintiff:                                              4347 N. 6th Street, Philadelphia, PA 19140
Address of Defendant:                                      2310 S. Redwood Avenue, Independence, MO 64057
Place of Accident, Incident or Transaction:                                     Interstate 1-81 North, near Shippensberg, PA.


RELATED CASE, IE ANY:

Case Number:                                                       Judge:                                                       Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

I.      Is this case related to property included in an earlier numbered suit pending or within one year                           Yes                    No y
        previously terminated action in this court?

2.      Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                          Yes                    No   /
        pending or within one year previously terminated action in this court?

3.      Does this case involve the validity or infringement of a patent already in suit or any earlier                             Yes                    No    /
        numbered case pending or within one year previously terminated action of this court?

4.      Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                          Yes                    No    /
        case filed by the same individual?

I certify that, to my knowledge, the within case □ is / H is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE:                 September 22. 2021                                                 Laura A. Seider                           308971
                                                                            Allorney-at-Law /Pro Se Plaintiff                                 Attorney ID. It (ifapplicable)


CIVIL: (Place a V in one category only)

A.              Federai Question Cases:                                                        B.   Diversity Jurisdiction Cases:

J   1.         Indemnity Contract, Marine Contract, and All Other Contracts                          1    Insurance Contract and Other Contracts
□  2.          FELA                                                                                  2    Airplane Personal Injury
J  3.          Jones Act-Personal Injury                                                             3    Assault, Defamation
^  4.          Antitrust                                                                             4    Marine Personal Injury
~  5.          Patent                                                                          /     5    Motor Vehicle Personal Injury
   6.          Labor-Management Relations                                                            6    Other Personal Injury (Please specify):__
   7.          Civil Rights                                                                          7    Products Liability
   8.          Habeas Coipus                                                                              Products Liability - Asbestos
^ 9.           Securities Act(s) Cases                                                               9    All other Diversity Cases
^ 10,          Social Security Review Cases                                                               (Please .specify):_____________________
]] 11,         All other Federal Question Cases
               (Please specify):________________________________________



                                                                              ARBITRATION CERTIFICATION
                                                     (The effect of this certification is to remove the case from eligibility for arbitration.)

                                                               counsel of record or pro se plaintiff, do hereby certify:

                Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
                exceed the sum of $150,000100 exclusive of interest and costs:

                Relief other than monetary damages is sought.


DATE:                                                                                S;gn here if eppH
                                                                            Attorney-al-Law / Pro Se Plaintiff                                Attorney I.D. # (ifapplicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P, 38.

Ctv IU)9 (5 eiii.sj
